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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


Denise Souder,
                                                       JUDGMENT IN A CIVIL CASE FOR ATTORNEY'S FEES
                                Plaintiff,
                 v.                                    Case Number: 2:19-cv-01165-APG-DJA

Andrew M. Saul,

                                 Defendant.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
         that Plaintiff Denise Souder's attorney, Cyrus Safa, is awarded attorney's fees pursuant to 42 U.S.C.
         § 406(b) in the amount of $20,000.

         IT IS FURTHER ORDERED that Cyrus Safa shall reimburse plaintiff Denise Souder the amount of
         $2,431.55 for EAJA fees previously paid by the Commissioner.




          1/11/2021
          1/8/2021
          1/6/2021
         12/21/2020
         ____________________                                  DEBRA K. KEMPI
         Date                                                 Clerk



                                                               /s/ M. Reyes
                                                              Deputy Clerk
